






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00442-CR







Nelly Lara, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT


NO. A-01-0366-S, HONORABLE RAE LEIFESTE, JUDGE PRESIDING







Nelly Lara seeks to appeal from an order deferring adjudication.  The order was
rendered on March 13, 2002, after Lara pleaded guilty to possessing cocaine with intent to deliver. 
Lara filed a motion for new trial on April 2, and she filed her notice of appeal on June 4.

Texas Rules of Appellate Procedure 21.1 and 21.4 do not apply to orders deferring
adjudication.  Donovan v. State, 68 S.W.3d 633, 635-36 (Tex. Crim. App. 2002); Hammack v. State,
963 S.W.2d 199, 200-01 (Tex. App.--Austin 1998, no pet.).  Lara's motion for new trial was a
nullity and did not extend the time for perfecting appeal.  Hammack, 963 S.W.2d at 201.  Because
Lara's notice of appeal was not filed within thirty days after the order deferring adjudication was
rendered, we lack jurisdiction to dispose of the purported appeal in any manner other than by
dismissing it for want of jurisdiction.  Id.; see Tex. R. App. P. 26.2(a)(1).


The appeal is dismissed.



				__________________________________________

				David Puryear, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   August 8, 2002

Do Not Publish


